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                                                     No. 24-2229



                               IN THE UNITED STATES COURT OF APPEALS
                                       FOR THE NINTH CIRCUIT

                                      DISABILITY RIGHTS OREGON et al.,
                                             Plaintiffs-Appellees,

                                                          v.

                                               DAVID BADEN et al.,
                                               Defendants-Appellees,

                                                          v.

                                               MARION COUNTY
                                           Proposed Intervenor-Appellant.


               DECLARATION OF JOSEPH D. MAUGHON IN SUPPORT OF MARION
                 COUNTY’S MOTION TO EXCEED TYPE-VOLUME LIMITATION


                        In support of Marion County’s motion to exceed the type-volume limitation

              set forth in Circuit Rule 32-1(a), I, Joseph D. Maughon, make the following

              declaration pursuant to 28 U.S.C. Section 1746:

                        1. Marion County’s opening brief is due to be filed on August 28, 2024.

                        2. Counsel for Marion County has exercised diligence in keeping Marion

              County’s opening brief as short as practicable while still addressing the necessary

              issues.
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                        3. Nonetheless, numerous issues create an extraordinary and compelling

              need for Marion County to exceed the type-volume limitation set forth in Circuit

              Rule 32-1(a).

                        4. Foremost among these issues is the fact that this case consists of two

              consolidated appeals. See ECF 486, 3-ER-3981 (appealing order denying Marion

              County’s Second Motion to Intervene); ECF 483, 3-ER-401 (protective notice of

              appeal, appealing various injunctions issued by district court); see also ECF 489,

              3-ER-392 (amended notice of appeal); ECF 488, 3-ER-395 (amended protective

              notice of appeal).

                        5. Ordinarily, an appellant may write a brief of up to 14,000 words for each

              appeal. Cir. R. 32-1(a). Accordingly, absent consolidation of the two appeals at

              issue here, Marion County would have been entitled to a total of 28,000 words.

                        6. However, this Court sua sponte consolidated these appeals. See D. 6.1; D.

              7.1. As a result, Marion County must argue both appeals in one brief, essentially

              leaving it with half the briefing space, per appeal, that it would ordinarily be

              entitled to.

                        7. Additionally, this consolidated appeal stems from five orders of the


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                      In order to aid the Court’s review, this Declaration provides parallel
              citations to both the district court docket (“ECF”) and to the Excerpts of Record
              accompanying the proposed Opening Brief filed herewith.
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              district court, including orders not only creating and or amending the remedial

              relief primarily at issue below, see Order to Implement Neutral Expert’s

              Recommendations, ECF 271, 1-ER-38; [First] Amended Order to Implement

              Neutral Expert’s Recommendations, ECF 387, 1-ER-29; Second Amended Order

              to Implement Neutral Expert’s Recommendations, ECF 416, 1-ER-12, but also

              modifying those orders with retroactive effect, see Opinion and Order (March 6,

              2024), ECF 475, 1-ER-9, and denying intervention to appeal, see Opinion and

              Order (April 4, 2024), ECF 485, 1-ER-2. These orders had a substantial briefing

              history, many involving briefing from both the parties and various amici, such as

              state court judges and crime victims, thus pulling in several legal and factual

              considerations relevant to this appeal. The complexity of the issues raised below

              and at issue in this appeal and the nature of the district court’s orders adjudicating

              those issues made it exceedingly difficult to limit argument on this appeal to the

              type-volume limitation set forth in Circuit Rule 32-1(a).

                        8. Compounding this issue is the fact that, as a result of the district court’s

              finding that a state court order violated the Supremacy Clause of the United States

              Constitution, those state court proceedings are also relevant and require significant

              discussion in Marion County’s brief.

                        9. Furthermore, the district court’s orders were not summary, but were based


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              on several grounds requiring additional discussion in Marion County’s opening

              brief. This compounds the exceeding difficulty of limiting argument on this appeal

              to the type-volume limitation set forth in Circuit Rule 32-1(a).

                        10. The district court case’s procedural history is also lengthy, stemming

              back to litigation that began in 2002, with remedial litigation opening a new stage

              of the case that has been ongoing since 2019. This history involves both complex

              state law, numerous lengthy reports from the neutral expert appointed below, and

              the effect of the district court’s actions on numerous local agencies. A substantial

              portion of Marion County’s brief is taken up laying out this background. This

              further compounds the exceeding difficulty of limiting argument on this appeal to

              the type-volume limitation set forth in Circuit Rule 32-1(a).

                        11. Six issues have been raised in this consolidated appeal, each requiring

              significant discussion. Despite Marion County counsel’s efforts to limit the word

              count of argument on each issue, it is unable to adequately address all issues while

              limiting its opening brief to 14,000 words.

                        12. Marion County’s counsel has made every effort to keep Marion

              County’s opening brief under the 14,000-word limitation. However, despite

              several rounds of editing for length, the brief currently exceeds the type-volume

              limitations by 7,081 words, for a total of 21,081 words. Thus, despite its diligence,


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              Marion County has an extraordinary and compelling need to exceed the type-

              volume limitation set out in Circuit Rule 32-1(a) by 7,081 words.

                        13. Counsel for Marion County inquired with counsel for Appellees

              concerning their position on Marion County’s Motion to Exceed Type-Volume

              Limitation, who advised that they do not object to the motion.

                        I affirm under penalty of perjury that the foregoing is true and correct.

              Executed on this 27th day of August 2024.


                                                         /s/Joseph D. Maughon
                                                         Joseph D. Maughon




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